       Case 4:25-cv-00150-RGE-WPK               Document 39        Filed 07/07/25      Page 1 of 4




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA
                                      CENTRAL DIVISION


  DENNIS DONNELLY, on behalf of himself
  and all others similarly situated,
                                                          Case No. 4:25-cv-150-RGE-WPK
              Plaintiffs,

  v.                                                      PRESS DEFENDANTS DES MOINES
                                                          REGISTER & TRIBUNE CO. AND
  DES MOINES REGISTER AND TRIBUNE                         GANNETT CO., INC.’S UNOPPOSED
  CO., INC., J. ANN SELZER, an individual,                MOTION FOR LEAVE TO FILE
  SELZER & COMPANY, and GANNETT CO.,                      OVERLENGTH REPLY BRIEF IN
  INC.,                                                   SUPPORT OF MOTION TO DISMISS

              Defendants.


         Defendants Des Moines Register and Tribune Co. and Gannett Co., Inc. (collectively,

“Press Defendants”), by and through their undersigned counsel and pursuant to Local Rule 7(h),

respectfully request leave to file a Reply Brief in support of their Motion to Dismiss in excess of

the five-page limit set forth in the Local Rules. In support of this Motion, Press Defendants state

as follows:

         1.        The Amended Complaint, which is brought by Plaintiff on behalf of a putative class

against four Defendants, spans 218 paragraphs across 40 pages and contains claims for violation

of the Iowa Consumer Fraud Act, fraudulent misrepresentation, negligent misrepresentation,

professional malpractice, interference with the right to vote, and civil conspiracy. (ECF No. 22.)

Plaintiff’s claims also implicate important First Amendment principles. (See id.)

         2.        Plaintiff was granted leave to file an overlength brief in support of his Consolidated

Response Brief in Opposition to the Motions to Dismiss in excess of the 20-page limitation set

forth in Local Rule 7(h). (ECF No. 35.)



                                                     1
    Case 4:25-cv-00150-RGE-WPK                Document 39      Filed 07/07/25      Page 2 of 4




       3.      Plaintiff’s Consolidated Response Brief in Opposition to the Motions to Dismiss

spans 44 pages and introduces new factual allegations and arguments. (ECF No. 36.)

       4.      Local Rule 7(g) provides that the maximum length of a Reply Brief is five pages

unless leave is granted to file an overlength brief in accordance with Local Rule 7(h).

       5.      In light of the parties involved and the complexity and importance of the issues

raised by the Amended Complaint and in the Motion to Dismiss and Opposition thereto, Press

Defendants require additional pages to fully develop the responsive legal arguments.

       6.      Good cause thus exists for Press Defendants to file an overlength Reply Brief in

support of their Motion to Dismiss.

       7.      Press Defendants respectfully submit that the interests of justice will be served by

permitting the filing of this overlength Reply Brief and that no party will be prejudiced by granting

this Motion.

       8.      Press Defendants therefore respectfully seek leave of this Court to file an

overlength Reply Brief in support of their Motion to Dismiss.

       9.      Counsel for Press Defendants have conferred with counsel for Plaintiff, and counsel

for Plaintiff does not oppose this request.

       10.     In accordance with Local Rule 7(h), Press Defendants have attached their proposed

Reply Brief hereto.

       WHEREFORE, Press Defendants respectfully request that this Court enter an Order

granting them leave to file an overlength Reply Brief in support of their Motion to Dismiss, and

that the Clerk of Court detach, file, and docket the attached document.




                                                 2
   Case 4:25-cv-00150-RGE-WPK   Document 39    Filed 07/07/25    Page 3 of 4




Dated July 7, 2025               FAEGRE DRINKER BIDDLE & REATH LLP

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                                   3
    Case 4:25-cv-00150-RGE-WPK              Document 39        Filed 07/07/25      Page 4 of 4




                                 CERTIFICATE OF SERVICE
       I certify that on July 7, 2025, I electronically filed the foregoing with the Clerk of Court

using the ECF system, which will send notification of such filing to all parties participating in the

Court’s electronic filing system.



                                                      /s/ Elizabeth Collins
